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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MISSOURI

EASTERN DIVISION
UNITED STATES OF AMERICA, )
Plaintiff,
V. Case No, 4:17 CR 522 RLW/SPM
NATHAN WYATT,
Defendant.

WAIVER OF DETENTION HEARING
I understand that the Government has filed a Motion for Detention asking the court not to set a bond for my release.
After discussion with my lawyer, I want to waive (give up) my right to contest the Government’s motion at a detention hearing.

I understand I will be detained (held in custody) until my case is resolved.

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Attorney fof|Defendant Afefendant

Dated this (% dayof LDC _, 2019. Dated this hea day of [D&C 2019.

STIPULATED ORDER OF DETENTION
This matter came before the Court for a detention hearing pursuant to the Bail Reform Act, 18 U.S.C. § 3142(f). Based on the record

 

 

made in open court, I find that the defendant, having been advised of his or her right to a detention hearing, has knowingly, intelligently, and
voluntarily waived the right to a detention hearing at the present time, and has reserved the right to come before the Court at any future time for the
purpose of a full detention hearing. The Court, having considered the pretrial services report, the stipulation of the parties, and the information
contained in the record,

IT IS HEREBY ORDERED that the defendant be detained pending trial in this case with the provision that the defendant shall have the
right at any future time to request that the Court revisit this order of detention and request a full detention hearing.

IT IS FURTHER ORDERED that the defendant be committed to the custody of the Attorney General for confinement in a corrections
facility, separate to the extent practicable from persons awaiting or serving sentences or being held in custody pending appeal.

IT IS FURTHER ORDERED that the defendant be allowed reasonable opportunity for consultation with counsel and with defense
counsel’s retained investigator, paralegal, or other retained expert consultant, including persons retained to conduct physical or psychological
examinations. Counsel or counsel’s aforesaid authorized representatives shall be permitted to bring audio or video tapes, tape players and monitors
into the correctional facility for the purpose of consulting with the defendant, which equipment shall be subject to physical examination by the
correctional facility personnel. Counsel shall notify and obtain authorization on an ex parte basis from the United States Marshals Service
personnel prior to any physical or mental examination, and prior to bringing any audio or video tapes, tape player and monitor into a correctional
facility, to permit the Marshals Service to make any necessary arrangements with the correctional facility.

IT IS FURTHER ORDERED that on order of a court of the United States or on request of an attorney for the government, the person in
charge of the corrections facility in which the defendant is confined shall deliver the defendant to the United States Marshal for the purpose of an

appearance in connection with a court proceeding.

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Dated this el day of “DR CamlA/ 2019,

 

 

Serie Nolen MENSAH
UNIT ATES MAGISTRATE JUDGE

 
